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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



    PHARMACEUTICAL RESEARCH AND
    MANUFACTURERS OF AMERICA, et. al,                     No. 1:20-cv-03402-TJK

         Plaintiffs,

         v.

    U.S. DEPARTMENT OF HEALTH & HUMAN
    SERVICES, et. al,

         Defendants.



                   SUPPLEMENTAL DECLARATION OF JULIE DOHM

I, Julie Dohm, declare as follows:

        1.      I am over 18 years of age, have personal knowledge of the information provided in

this declaration, and am competent to testify.

        2.      I am an attorney licensed to practice in Washington, D.C., and am currently

employed as Of Counsel in the Washington, D.C., office of the law firm of Covington & Burling

LLP (“Covington”).

        3.      I am counsel of record for the Pharmaceutical Research and Manufacturers of

America (“PhRMA”) in the above-captioned case.

        4.      As set forth in my prior declaration filed on September 30, 2021,1 Covington

submitted a FOIA request2 to the Department of Health and Human Services (“HHS”) on


1
 Declaration of Julie Dohm, Exhibit L to Memorandum in Opposition to Defendant’s Motion to
Dismiss the First Amended Complaint, ECF No. 35-13, ¶¶ 9–14, PhRMA v. HHS, Case No.
1:20-cv-03402-TJK (D.D.C. Sep. 30, 2021) (hereinafter “Dohm Decl.”).
2
    HHS FOIA Case No.: 2021-00009-FOIA-OS.
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September 30, 2020. The HHS Office of the Secretary (OS) FOIA Office reported that its searches

located no responsive records on March 30, 2021. On August 17, 2021, Arianne Perkins, Director,

HHS FOI/Privacy Acts Division, provided a letter that “support[ed] and solidifie[d]” the finding

of no responsive records.

         5.      Covington appealed3 the HHS OS FOIA Office’s finding of no responsive records

on October 6, 2021. On January 21, 2022, Covington received a letter from Brandon J. Gaylord,

Director of the FOI/Privacy Acts Division, which notified Covington that responsive records may

exist and remanded the FOIA request to the OS FOIA Office for an additional search. This letter

was dated October 25, 2021, but Covington did not receive it until January 21, 2022 due to an

email mistake.

         6.      On May 9, 2022, the HHS OS FOIA Office informed Covington that it had located

433 pages of responsive records. The HHS OS FOIA Office released 22 pages in their entirety

and 11 partially redacted pages. The records that the HHS OS FOIA Office provided in response

to the FOIA request are attached (Ex. A).

         7.      As set forth in my prior declaration,4 Covington submitted a FOIA request5 to CBP

on June 29, 2021. At this time, Covington has not received a response from CBP.

         8.      As set forth in my prior declaration,6 Covington submitted a FOIA request7 to

USTR on July 27, 2021, to which USTR responded on August 23, 2021 that the agency’s searches




3
    HHS Appeal Case No.: 2022-00003-A-OS.
4
    Dohm Decl. at ¶¶ 20–26.
5
    No.: CBP-OC-2021-078678.
6
    Dohm Decl. at ¶¶ 27–30.
7
    No.: FY21-79.

                                                 2
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had located no responsive records. Covington appealed the agency’s response on October 6, 2021,

and USTR affirmed its finding of no responsive records on October 21, 2021.



       I declare, under penalty of perjury that the foregoing is true and correct.


Executed on this 9th day of June 2022.

                                                                      Julie Dohm
                                                                                     Digitally signed by: Julie Dohm
                                                                                     DN: CN = Julie Dohm email =
                                                                                     jdohm@cov.com C = AD

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                                                                                     Date: 2022.06.09 11:49:03 -04'00'




                                                                                           Julie Dohm




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